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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                    8:02CR419
                              )
          v.                  )
                              )
JEVAUGHN D. ERWIN,            )                MEMORANDUM OPINION
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s timely

motion to vacate, set aside, or correct sentence by a person in

federal custody under 28 U.S.C. § 2255 (Filing No. 130).                 The

Court is also in receipt of the government’s response to the

motion (Filing No. 136) and the defendant’s traverse (Filing No.

137).   For the reasons set forth herein, the Court finds that the

defendant’s motion should be denied.

                                BACKGROUND

           On December 18, 2002, a two-count indictment was filed

in the United States District Court for the District of Nebraska

naming Jevaughn D. Erwin (“Erwin”) as a defendant.               Count I of

the indictment charged Erwin with conspiracy to distribute and

possess with intent to distribute crack cocaine in violation of

Title 21, United States Code, Sections 841(a)(1),

841(b)(1)(A)(iii), and 846.         Count II is not at issue here.           A

superseding indictment was filed on July 22, 2004, charging Erwin

with conspiracy to distribute and to possess with intent to
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distribute 50 grams or more of crack cocaine in violation of the

aforementioned statutes, broadening the time period of the

conspiracy to January 1, 1998, through August 27, 2003, and

making the further factual findings that Erwin conspired to

distribute and possess with intent to distribute more than 1.5

kilograms of crack cocaine and that he possessed a dangerous

weapon during the commission of the offense.

            Erwin waived his right to trial by jury and proceeded

to trial before this Court on September 14, 2004 (Filing No. 60).

At the close of all the evidence, this Court found Erwin guilty

of the conspiracy charged in Count I of the superseding

indictment and entered judgment on February 15, 2005 (Filing No.

94.)   The Court found that Erwin should be held responsible for

at least 350 grams but less than 500 grams of crack cocaine, and

also that Erwin possessed a gun while involved in the conspiracy

(Tr. 279:6-14.)

            On direct appeal, Erwin argued that the evidence

presented at trial was insufficient to convict him because it was

composed predominantly of the testimony of witnesses who were not

credible.    The United States Court of Appeals for the Eighth

Circuit affirmed his sentence on April 12, 2006.              On May 23,

2007, Erwin filed his motion under 28 U.S.C. § 2255 to vacate,

set aside or correct sentence (Filing No. 130).             This is his

first petition pursuant to § 2255.


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                                DISCUSSION

           Mr. Erwin seeks relief under 28 U.S.C. § 2255, claiming

ineffective assistance of counsel.         “[F]ailure to raise an

ineffective-assistance-of-counsel claim on direct appeal does not

bar the claim from being brought in a later, appropriate

proceeding under § 2255.”      Massaro v. United States, 538 U.S.

500, 509 (2003).    Erwin claims that despite his direction, his

trial counsel, John Velasquez, failed to call the following

witnesses in his defense: Lamar Bass, Kathy Nelson, and Billy

Davis, and that as a result he was wrongfully convicted of

conspiracy to distribute narcotics as well as a sentencing

enhancement for use of a weapon.        Erwin also claims that his

appellate counsel, Glenn Shapiro, was ineffective because in his

appeal, Shapiro failed to include Erwin’s argument that this

Court failed to apply an intervening change of law to his case,

namely Crawford v. Washington, 541 U.S. 36, 158 L.Ed.2d 177, 124

S.Ct. 1354 (2004).

           The United States Supreme Court has long recognized

that the Sixth Amendment right to counsel is necessary to protect

the fundamental right to a fair trial.          Strickland v. Washington,

466 U.S. 668, 684 (1984).      This right to counsel is “the right to

effective assistance of counsel.”          Strickland, 466 U.S. at 686

(quoting McMann v. Richardson, 397 U.S. 759, 771, n. 14 (1970)).

An ineffective assistance of counsel claim has two components:


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(1) the defendant must show that counsel’s performance was

deficient; and (2) the defendant must show that the deficient

performance prejudiced the defense.         Id. at 687.

           The Court finds that Erwin fails to demonstrate

prejudice.   To demonstrate prejudice, a defendant must show that

“counsel’s errors were so serious as to deprive the defendant of

a fair trial, a trial whose result is reliable.”              Strickland, 466

U.S. at 687.   The Supreme Court has stated that “[i]t is not

enough for the defendant to show that the errors had some

conceivable effect on the outcome of the proceeding.”               Id. at

693.   Rather, the defendant must show that “there is a reasonable

probability that, but for counsel’s unprofessional errors, the

result of the proceeding would have been different.              A reasonable

probability is a probability sufficient to undermine confidence

in the outcome.”    Id. at 694.     The Court must ask whether a

reasonable probability exists that absent the errors, the

factfinder would have a reasonable doubt respecting guilt, based

upon the totality of the evidence.         Id. at 695.

           With respect to Erwin’s claim that trial counsel was

ineffective, even if all three witnesses Erwin faults Velasquez

for not calling had in fact been called and testified as he

suggests, the result of the proceeding would not have been

different.   Lamar Bass would have had little credibility to begin

with because witnesses Jackson, Jones, and Birdine testified that


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he sold crack cocaine with Erwin.          Bass would then have been

impeached by the proffer interview he gave the government on

January 30, 2003, in which he stated that “he was present and

observed [Erwin] sell quantities of crack cocaine” and that Erwin

“routinely carries a chrome .357 handgun with him at all times.”

(Pl.’s Resp. to Def.’s Mot., Ex. A at 2 ¶ 1; Filing No. 136.)

Kathy Nelson states in her affidavit that she has never known

Erwin to sell crack or seen him with a gun (Nelson Aff. 1 ¶¶ 3,

5, Pl.’s Mot. to Vacate, Set Aside or Correct Sentence, Ex. B;

Filing No. 130.)    However, at most Ms. Nelson’s testimony would

have established that these things never happened in her

presence.   This would not be enough to create a reasonable doubt

in the mind of a factfinder, especially since this testimony does

not contradict the many witnesses who testified to Erwin’s drug

sales and gun possession.      Billy Davis’s testimony would also not

have altered the outcome.      Even if Davis had testified that he

had been acquitted and that Officer Gassaway was vindictive, this

is not enough evidence for the Court to find that Gassaway

fabricated the case against Erwin.          Thus, even if Erwin’s counsel

had called all of the witnesses Erwin wished, or any combination

of them, the result of the proceeding would have been the same.

Moreover, whether to call a particular witness or not is a

strategic decision.     “Reasonable trial strategy does not

constitute ineffective assistance of counsel simply because it is


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not successful.”     James v. Iowa, 100 F.3d 586, 590 (8th Cir.

1996).

             With respect to the claim that appellate counsel was

ineffective, Erwin similarly fails to show prejudice.               Erwin

argues that a statement made by Officer Hinchey that Cathy Nelson

told him the gun found under her couch belonged to Erwin (Tr.

206:6-9) violated his rights under the Confrontation Clause

because Ms. Nelson was not called as a witness.             However, it was

Erwin’s counsel who elicited this testimony on cross examination,

not the government.     This is not the type of concern the

Confrontation Clause addresses and therefore the Court finds that

counsel was not ineffective when he chose not to raise this issue

in his brief.    The Court need not address whether the elicitation

of this testimony itself constituted ineffective assistance

because this issue would not have affected the outcome since

other evidence at trial clearly established Erwin’s possession of

firearms.1    Because Erwin has failed to demonstrate prejudice, the

Court finds his claims of ineffective assistance of counsel must

fail.    See United States v. Apfel, 97 F.3d 1074, 1076 (8th Cir.



     1
       Police found a loaded handgun protruding from a couch near
Erwin’s head when they arrested him (Tr. 200:21-201:9; 202:16-203:1;
Ex. 11). William Hawkins testified that Erwin was armed with a gun
during at least one of their transactions (Tr. 52:22-53:10). Darrow
Fowler testified that Erwin carried either a .357 or .44 handgun
during their drug transactions (Tr. 133:13-134:7). Kevin Birdine
testified that Erwin pointed two guns at his face and that Erwin
carried a gun while dealing drugs (Tr. 180:1-180:7; 184:6-21).

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1996)(holding failure to demonstrate prejudice may be dispositive

of an ineffective assistance of counsel claim, and where there is

such a failure, the Court need not address the deficient

performance prong).

                               CONCLUSION

           For the foregoing reasons, the defendant’s § 2255

motion will be denied.     A separate order will be entered in

accordance with this memorandum opinion.

           DATED this 5th day of October, 2007.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court




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